    AO245B                                         (Rev. 11/16) Judgment in a Criminal Case For Revocation of Supervised Release

    HERSHBERGER BRE TT WAD E RevocationJ NC
    AO245B                                          J udgment in a Criminal Cas e               For Revocation of Supervis ed Releas e




                                                                                         UNITED STATES DISTRICT COURT
                                                                                                                                         District of Alaska
                                                   UNITED STATES OF AMERICA                                                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                                                                                   (For Revocation of Supervised Release)
                                                                                    v.
                                                                                                                                                   *Clarification as to term of imprisonment
                                                   BRETT WADE HERSHBERGER                                                                          Case Number:             3:13-CR-00024-01-RRB
                                                                                                                                                   USM Number:              16851-006
                                                                                                                                                   Jane Imholte
                                                                                                                                                   Defendant’s Attorney
    THE DEFENDANT:

    ☒ admitted guilt to violation of condition(s)                                                               Allegations 1, 2, 4, and 5 (DKT 125)                                of the term of Supervised Release.

    ☐ was found in violation of condition(s) and counts                                                                                                                                      after denial of guilt.

    The defendant is adjudicated guilty of these violations:

                                              Violation Number                                                                        Nature of Violation                                             Violation Ended
                                                      1                                                                           New Law Violation (Theft)                                              6/11/2018
                                                      2                                                                                     Drug Use                                                     6/06/2018
                                                      4                                                                         Failure to Report Police Contact                                         9/24/2019
                                                      5                                                                        Failure to Submit to Drug Testing                                        10/01/2019
       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to
       the Sentencing Reform Act of 1984.
     ☒ The defendant has not violated condition(s)                                                                                       3, and 6 through 12               and is discharged as to such violation(s).
       It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
       or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
       restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.

       Last Four Digits of Defendant’s Soc. Sec. No.: 1944                                                                                       7/28/2020
                                                                                                                                                 Date of Imposition of Judgment
       Defendant’s Year of Birth:                                                    1981
       City and State of Defendant’s Residence:

       Soldotna, Alaska                                                                                                                           s/ Ralph R. Beistline
                                                                                                                                                 Signature of Judge


                                                                                                                                                 Ralph R. Beistline, Senior United States District Judge
                                                                                                                                                 Name and Title of Judge
                                                                                                                                                  8/3/2020
                                                                                                                                                 Date




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                                                        Case 3:13-cr-00024-RRB-MMS Document 162 Filed 08/03/20 Page 1 of 4
 AO245B                    (Rev. 11/16) Judgment in a Criminal Case For Revocation of Supervised Release
                           Sheet 2 — Imprisonment

                                                                                                                            Amended Judgment — Page 2 of 4
 DEFENDANT:                              BRETT WADE HERSHBERGER
 CASE NUMBER:                            3:13-cr-00024-01-rrb

Sheet 2 — Imp ris onment
                                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

9 MONTHS, no term of supervised release to follow.
This sentence to run concurrent with the time imposed in State of Alaska case 3KN-19-01972CR.



 The court makes the following recommendations to the Bureau of Prisons:



 The defendant is remanded to the custody of the United States Marshal.
 The defendant shall surrender to the United States Marshal for this district:
  at                                                a.m.           p.m. on                                                           .
  as notified by the United States Marshal.
 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
  before 2 p.m. on                                                                       .
  as notified by the United States Marshal.
  as notified by the Probation or Pretrial Services Office.

                                                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                               to
at                                                           , with a certified copy of this judgment.



                                                                                                              UNITED STATES MARSHAL

                                                                                      By
                                                                                                           DEPUTY UNITED STATES MARSHAL




                            Case 3:13-cr-00024-RRB-MMS Document 162 Filed 08/03/20 Page 2 of 4
 AO245B                                           (Rev. 11/16) Judgment in a Criminal Case For Revocation of Supervised Release
                                                  Sheet 5 — Criminal Monetary Penalties

                                                                                                                                                                                           Amended Judgment — Page 3 of 4
 DEFENDANT:                                                     BRETT WADE HERSHBERGER
 CASE NUMBER:                                                   3:13-cr-00024-01-rrb
                                                                                  CRIMINAL MONETARY PENALTIES
Sheet 5 — Criminal M oneta ry Penalties
                                          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                                                                                             Sheet 5 — Criminal M oneta ry Penalties




                                                          Assessment                    JVTA Assessment*                                                               Fine                Restitution
TOTALS                                               $ 100.00***                   $                                                                        $                          $

☐                                          The determination of restitution is deferred until                                                An Amended Judgment in a Criminal Case (AO 245C)
                                           will be entered after such determination.
☐
                                           The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                                           victims must be paid before the United States is paid.


Name of Payee                                                                               Total Loss**                          Restitution Ordered                                       Priority or Percentage




TOTALS                                                                                              $ 0.00                                                                    $ 0.00


☐                                          Restitution amount ordered pursuant to plea agreement $

☐                                          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                                           the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
                                           subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☐                                          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                           ☐ the interest requirement is waived for the ☐ fine   ☐ restitution
                                           ☐ the interest requirement for the ☐ fine      ☐restitution is modified as follows:

*                                            Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

**                                          Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
                                            offenses committed on or after September 13, 1994, but before April 23, 1996.

***                                          Special assessment was paid in full on March 11, 2014.




                                                   Case 3:13-cr-00024-RRB-MMS Document 162 Filed 08/03/20 Page 3 of 4
AO245B                                    (Rev. 11/16) Judgment in a Criminal Case For Revocation of Supervised Release
                                          Sheet 6 — Schedule of Payments

                                                                                                                                                  Amended Judgment — Page 4 of 4
DEFENDANT:                                              BRETT WADE HERSHBERGER
CASE NUMBER:                                            3:13-cr-00024-01-rrb

Sheet 6 — Schedule of Payments
                                                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A ☒ Lump sum payment of                                          $100.00                            due immediately, balance due
                                     ☐ not later than                 , or
                                     ☒ In accordance  with ☐C, ☐D, ☐  E, or ☒F below; or 

B ☐Payment to begin immediately (may be combined with ☐C, ☐D, ☐ E, or ☐F below); or
  
     Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                        over a
C ☐
     period of                   (e.g., months or years), to commence                          (e.g., 30 or 60 days) after the
     date of this judgment; or
  
     Payment in equal                                                               (e.g., weekly, monthly, quarterly) installments of   $                         over a
D ☐
     period of                                                           (e.g., months or years), to commence                                (e.g., 30 or 60 days) after
                                     Release from imprisonment to a term of supervision; or
E ☐Payment during the term of supervised release will commence within                                                                       (e.g., 30 or 60 days) after release
                                     from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
                                 
F ☒ Special instructions regarding the payment of criminal monetary penalties:
                            
                                     Any unpaid amount is to be paid during the period of probation in monthly installments of not less than 10% of the defendant’s
                                     gross monthly income or $25, whichever amount is greater.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program are made to the United States District Court, District of Alaska. For restitution
payments, the Clerk of the Court is to forward money received to the party(ies) designated to receive restitution specified on the
Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐Joint and Several
  Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
 and corresponding payee, if appropriate.



☐The defendant shall pay the cost of prosecution.

☐The defendant shall pay the following court cost(s):

☐The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.


                                           Case 3:13-cr-00024-RRB-MMS Document 162 Filed 08/03/20 Page 4 of 4
